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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


    IN RE: CHINESE-MANUFACTURED                          MDL NO. 2047
    DRYWALL PRODUCTS LIABILITY
    LITIGATION



    THIS DOCUMENT RELATES TO:                            SECTION: L
    Amorin v. Taishan Gypsum Co., Ltd., f/k/a            JUDGE FALLON
    Shandong Taihe Dongxin Co., Ltd., Case               MAG. JUDGE WILKINSON
    No. 2:11-cv-01395 (E.D. La.) (LA)




               PLAINTIFFS’ STEERING COMMITTEE’S MEMORANDUM
                OF LAW IN SUPPORT OF ITS MOTION FOR AN ORDER
            (UNDER FRCP 55(b)) APPLYING THE REMEDIATION DAMAGES
          FORMULA ADOPTED BY THE FINDINGS OF FACT & CONCLUSIONS
           OF LAW RELATED TO THE JUNE 9, 2015 DAMAGES HEARING TO
           THE CLAIMS OF FORMER OWNERS OF AFFECTED PROPERTIES

I.       INTRODUCTION

         As the Court continues to address the calculation of class wide remediation damages

owed by the defaulted Taishan Defendants1 under FRCP 55(b), the Plaintiffs’ Steering

Committee respectfully seeks an order applying the remediation damages formula adopted by the

Findings of Fact & Conclusions of Law related to the June 9, 2015 damages hearing to the


1
  In this Court’s Jurisdiction Order & Reasons, the Taishan Defendants were defined to be
comprised of Taishan Gypsum Co., Ltd. (“Taishan”); Beijing New Building Materials Limited
Co. (“BNBM”); Beijing New Building Materials Group Co., Ltd.; China National Building
Materials Co., Ltd.; China National Building Materials Group Corporation (“CNBM Group”);
and Tai’an Taishan Plasterboard Co., Ltd.. See In re Chinese-Manufactured Drywall Prod. Liab.
Litig., 2017 WL 1476595, at *43 n.28 (E.D. La. Apr. 21, 2017). In a separate Order & Reasons
of March 10, 2016, this Court dismissed CNBM Group, In re Chinese-Manufactured Drywall
Prod. Liab. Litig., 168 F. Supp. 3d 918, 939 (E.D. La. 2016), and then denied Plaintiffs’ request
to certify the matter for an interlocutory appeal (Rec. Doc. 21823).
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claims of former owners (In re Chinese-Manufactured Drywall Prod. Liab. Litig., 2017 WL

1421627 (E.D. La. Apr. 21, 2017)). For more than nine years, Defendants have manipulated our

judicial system and engaged in delay tactics that have denied relief to thousands of property

owners damaged by defective Chinese Drywall. They have even gone so far as to brazenly

disregard this Court’s Order to appear at a judgment-debtor exam after being cast in judgment

based on the adjudicated claims of seven Virginia property owners in Germano. Over time,

Defendants’ strategy has saddled homeowners with overwhelmingly burdensome costs,

destroyed their life-savings, shattered their dreams, and forced many to abandon their

unremediated homes or lose them through foreclosure or bankruptcy while the processing of

their claims dragged on, through no fault of these Plaintiffs. It is the latter group of claimants

(previously current owners who are now “former owners”) to whom this motion is addressed.

         There is no question that former owners are Amorin class members in this MDL.2 The

vast majority of Plaintiffs were current owners when they filed suit against the Taishan

Defendants, but unfortunately many of these Plaintiffs became former owners during the decade-

long protracted Chinese Drywall proceedings. Plaintiffs contend that any Plaintiff who was a

current owner when suit was brought and when the first defaults were entered against Taishan in

2009,3 is a current owner for purposes of calculating damages in these default proceedings.

         But, in any event, regardless of the date that a Plaintiff became a former owner, former

owners are entitled to recover the property damages for which Defendants are liable. Both law

and equity warrant that such former homeowners be deemed entitled to the same relief as current



2
 Rec. Doc. 21846 (Order & Reasons addressing Notice of Clarification Regarding the
Composition of the Amorin Class).
3
    Rec. Doc. 277; Rec. Doc. 487.
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homeowners in the calculation of damages done to property by defective Chinese Drywall. Such

parity in the award of remediation costs will (a) assure that Defendants’ efforts to wrongfully

delay the resolution of Plaintiffs’ claims do not undermine the purpose and policy of the current

default phase of these proceedings, and (b) prevent an effective windfall to the same Defendants

whose conduct in this litigation has contributed to the abandonment or loss of unremediated

homes by these class members. The PSC therefore seeks a determination that the Taishan

Defendants’ responsibility to pay remediation damages on a formulaic basis (as established by

this Court) extends to class members who have been obliged to relinquish ownership of

unremediated homes over the course of this litigation.

II.     FACTUAL BACKGROUND

        Purposeful delay has been the signature trademark of the Taishan Defendants’ litigation

strategy; and they do not appear before the Court with clean hands. From their initial meeting

with their American lawyers in 2009 through today, they have attempted to thwart the American

justice system and prejudice the rights of homeowners who fell victim to their inferior and

defective drywall. As this Court has noted, their collective “delay tactics have permeated every

aspect of Defendants’ litigation strategy: from their initial failure to appear to their now perpetual

motions to re-litigate settled matters.”4

        These tactics were demonstrated by the Defendants’ practices on multiple occasions of

seeking to 1) vacate the defaults against them, 2) move to decertify the Amorin class, and 3)

obtain an immediate appeal of the Class Damages Order as well as the MDL order denying their



4
 See In re Chinese-Manufactured Drywall Prod. Liab. Litig., 2018 WL 279629, *9 (E.D. La.
Jan. 2, 2018).

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decertification motion.5 Hence, the very Defendants that seized on the opportunity to profit in

the United States market (including in the wake of Hurricane Katrina’s devastation of thousands

of homes), have exploited the United States legal system in order to avoid accountability. This

Court is aware of this history, having recounted that,

               [d]uring approximately 2005 to 2008, hundreds-of-millions of
               square feet of gypsum wallboard manufactured in China (“Chinese
               drywall”) were exported to the United States, primarily along the
               East Coast and Gulf South, as a result of an exceptionally high
               demand for building supplies in the aftermaths of Hurricanes Rita
               and Katrina, as well as a general new-housing boom.6

        The Defendants’ own documents confirm that Taishan Gypsum and BNBM have known

since 2009 that they were named as defendants in lawsuits alleging damages caused by the

Chinese Drywall they manufactured and shipped to the U.S.7 Discovery has proven that

Defendants engaged in a calculated strategy to ignore the Chinese Drywall complaints and sit on

the sidelines. Specifically, the Informational Report on the Class Actions Brought by the U.S.

Parties Against Taishan Gypsum Company Limited expressly stated:

               After analysis, Taishan Company believes that this lawsuit is
               relatively complicated, and it plans not to respond … [T]he reasons
               are as follows… responding to the lawsuit would incur a large
               amount of attorney’s fees and traveling fees. . . . [T]here is no
               judicial treaty signed between China and the U.S. on mutual

5
  See id. at *1-2 (describing BNBM’s multiple attempts to vacate defaults); see also Defendants’
Motion to Decertify (Rec. Docs. 20627, 20631, 20632); MDL Order & Reasons dated 4/21/2017
re Motion to Decertify (Rec. Doc. 20740) (“Decertification Opinion”); MDL Order & Reasons
dated 8/22/2017 (Rec. Doc. 20910) (denying motions to certify Class Damages Order and
Decertification Opinion for immediate appeal under Section 1292(b)) (“1292(b) Opinion”).
6
 In re Chinese-Manufactured Drywall Prod. Liab. Litig., 894 F. Supp. 2d 819, 829-30 (E.D. La.
2012). See also Summary of Taishan Drywall Imports reflecting that Taishan Gypsum shipped
87.6 million square feet of Chinese Drywall to U.S. (Rec. Doc. 14843-3).
7
 See The Course of Events on Hiring Law Firms for the Gypsum Board Litigation in the United
States (Rec. Doc. 21641-192), at 1.

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                 recognition and enforcement of court judgments, and [since]
                 Taishan Company does not have assets within the continental U.S.,
                 even if the lawsuit was lost, the U.S. court cannot enforce
                 Taishan’s assets in China.8

         Moreover, this strategy has been orchestrated in consultation with counsel from the very

beginning of this litigation, since 2009. Defendants’ document entitled, “The Course of Events

on Hiring Law Firms for the Gypsum Board Litigation in the United States” (Rec. Doc. 21641-

192), at 1-2, reveals that “BNBM PLC and its subsidiary Taishan Gypsum discussed the gypsum

board lawsuits in the United States, in which BNBM PLC and Taishan Gypsum were involved,

with the three candidate law firms were Lovells International Law Firm[,] Orrick, Herrington &

Sutcliffe LLP[,] and K&L Gates LLP.” Id. These counsel advised the Defendants that their

legal strategy to avoid the Court would result in default judgments entered against them. The

Defendants nonetheless remained undaunted, as, again, their own documents confirm:

                 Taishan and BNBM are aware that “Judge Fallon already issued a
                 warning to Taishan Gypsum. If Taishan Gypsum did not respond
                 to the litigation before September 24, 2009, the judge will hold a
                 hearing on September 24, 2009, and issue a default judgment
                 against Taishan Gypsum.”9

         The Defendants’ strategy was implemented for the collection of entities comprising the

Taishan Defendants. In its Jurisdiction Order of April 21, 2017, this Court found that the

Taishan Defendants functionally operated as a single business enterprise (“SBE”). “This single

business enterprise is therefore considered one entity for the purposes of imputing personal




8
    Rec. Doc. 21641-4 at 3.
9
 The Course of Events on Hiring Law Firms for the Gypsum Board Litigation in the United
States (Rec. Doc. 21641-192), at 6.

                                                  5
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jurisdiction under Louisiana law.” Chinese Drywall, 2017 WL 1421627, at *37. This singularity

of interests makes the Taishan Defendants collectively liable for all Plaintiffs’ injuries.

         Because of their potential SBE exposure, the Taishan Defendants recently sought “to go

back to square one,”10 by limiting the Amorin class to current owners only, taking the

unreasonable position that, “if over the course of nine years any of the Plaintiffs named in the

Amorin complaints no longer own their homes, they should be excluded from the class,

notwithstanding the fact that their homes were allegedly damaged by Taishan’s Drywall.” In re

Chinese-Manufactured Drywall Prod. Liab. Litig., No. MDL 2047, 2018 WL 4929199, at *6

(E.D. La. Oct. 11, 2018). Recognizing that over the course of time many claimants no longer

own their properties, through no fault of their own but rather as a direct consequence of delays in

the litigation. Defendants thus seek to avoid accountability by virtue of the very strategy they

devised to avoid accountability in the first place. This should not be countenanced.

         With the passage of time, it is hardly surprising that a number of homeowners simply

have been unable to continue living in toxic homes that they cannot afford to remediate on their

own. Under Defendants’ analysis, these claimants now stand to be penalized as a consequence of

Defendants’ efforts to “game” the system and cause interminable delays. As the Court

appropriately noted,

                the whole approach is just delay. Delay because people die, delay
                because they lose their homes, delay because they’re frustrated and
                giving up.11

10
 See Chinese Drywall, 2018 WL 279629, at *10 (denying motion to vacate defaults); see also
Decertification Opinion; 1292(b) Opinion.
11
  See August 15, 2018 Hearing Tr., at 24:2-11 (Rec. Doc. 21709). This reasoning is amply
supported at law and by the common-sense notion that one should not benefit from their own
misconduct. See generally Barnhill v. United States, 11 F.3d 1360, 1368 (7th Cir.1993)
(“Misconduct may exhibit such flagrant contempt for the court and its processes that to allow the

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       This Court, however, is empowered to fashion appropriate and uniform relief for former

owners, given the equities involved, Louisiana law and Defendants’ defaults under FRCP 55.

Property damages have been owed to all class members, for some time now, since “Defendants’

liability was conceded by their default.” See Chinese Drywall, 2017 WL 1421627, at *8, ¶ 19.

The remaining question is the measure of damages, commensurate with “made whole” relief for

the property damage suffered by current and former owners alike.

       The Court having already determined that class members are entitled to recover

remediation damages on a formulaic basis, Plaintiffs submit that this ruling should apply to both

current and former owner class members. There is clear precedent for this result, found in Your

Honor’s Findings of Fact and Conclusions of Law following the Germano trial. In that Rule

55(b)(2) proceeding, despite having to declare bankruptcy due to their failed efforts to carry both

their Chinese Drywall home mortgage and a rental property, the Plaintiffs Deborah and William

Morgan were awarded remediation damages, the value of their lost personal property, their past

and future repair costs, economic losses associated with foreclosure and bankruptcy, alternative

living costs, and their loss of use and enjoyment. In re Chinese Manufactured Drywall Prod.

Liab. Litig., 706 F. Supp. 2d 655, 695-96 (E.D. La. 2010). Their recovery of remediation

damages was allowable despite the fact that the Morgans had previously abandoned their home

and suffered a foreclosure on their former property. They were, in other words, former owner



offending party to continue to invoke the judicial mechanism for its own benefit would raise
concerns about the integrity and credibility of the civil justice system that transcend the interest
of the parties immediately before the court.”); Assaf v. Trinity Medical Center, 696 F.3d 681, 686
(7th Cir. 2012) (“[A] classic rule of contract law, is that a party should be prevented from
benefitting from its own breach.”).


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class members, the same group of claimants to which this motion is addressed. In Germano, the

Court entered judgment for both current owners and former owners based on the same formulaic

methodology to calculate remediation damages. See Order & Reasons (Awarding Disbursement

of the Germano Intervenors’ Judgment) (Rec. Doc. 18725).

          On June 9, 2015, this Court conducted a Class Damages Hearing pursuant to FRCP

55(b)(2), in order to monetize the debt owed by Taishan for all class claims seeking remediation

damages. Just prior to the Class Damages Hearing, Plaintiffs’ expert on remediation damages,

Mr. Ronald Wright, became unavailable due to a family emergency. His partner George Inglis

(who had worked with Mr. Wright side by side throughout this process) was substituted as

Plaintiffs’ expert, with Court approval. In the moments leading up to the Damages Hearing,

Plaintiffs requested that the hearing be limited to current owners and requested that former

owners’ damages be calculated at a later date. See Plaintiffs’ Reply Brief in Support of Motion

for Assessment of Class Damages Pursuant to Rule 55(b)(2)(B) at 22 (Rec. Doc. 21681). The

Court then conducted an evidentiary hearing limited to “only remediation damages for current

owners.”12 Again, the emphasis properly remained on the appropriate means of monetizing a

debt owed by Taishan under Rule 55:

                   Given that the defectiveness and corrosive effect of Chinese
                   drywall is well-established, defendants are in default, there is no
                   contributory negligence, and this Court already entered a liability
                   judgment, the only issue currently pending before the Court is the
                   amount of damages which should be awarded to the Plaintiffs in
                   order to accomplish the necessary remediation.13




12
     Chinese Drywall, 2017 WL 1421627, at *14, ¶ 59.
13
     Id. at *9, ¶ 20.
                                                    8
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          In the course of evaluating remediation damages this Court further decided that “[i]n the

instant case, the class experienced class-wide damages directly tied to liability: the need to

replace the defective drywall. This injury is common to every class member, with the only

difference being how much drywall each class member had to replace and how much the

contractor charged in order to perform the work.”14 This “common injury” has been suffered by

every owner, current and former, and the same calculation method already determined to result

in a fair measure of damages to compensate for this “common injury,” likewise should obtain for

every owner, current and former. The Court-approved, formulaic calculation, once applied to all

current and former owners, will then leave only the final determination of remediation damages

subject to “subsequent set-offs and claims proceedings.”15

          As noted, this Court has already employed this approach with regard to the Germano

Intervenors. Further, this Court has addressed the question of an appropriate trial plan for

certain, selected cases. See October 12, 2018 Order & Reasons at 8 (Rec. Doc. 21847). Pursuant

to Your Honor’s directive, the parties identified 40 Plaintiffs (later reduced to 39) to form a

discovery pool, with trials addressing damages in these cases to occur at a later date. The parties

jointly submitted a discovery plan for these selected Louisiana Claims, which was endorsed by

the Court on November 1, 2018 (Rec. Doc. 21897).16 Mary Haindel is a Louisiana Select Case

and she is a former homeowner. Defendants, in identifying their Select Cases, included six (6)




14
     Id. at *20, ¶ 76.
15
     Id. at *24.
16
  The parties have been unable to reach agreement regarding additional trial plan proceedings
for Louisiana Amorin Plaintiffs, but have agreed to submit competing plans to the Court for a
ruling (Rec. Doc. 22133).

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former homeowners: Colin Berthaut and Colin Gelpi, Holly Braselman, Brian and Barbara

Lewis, Dana and Marcus Staub, Rosanne Wilfer, Zhou Zhang and Xug Ying Zhao.17 To give

more specificity to the relief proposed in the instant motion, the following discussion of Ms.

Haindel, whose deposition testimony highlights the significant harm that has befallen former

owners, may be instructive.

          Ms. Haindel originally purchased and moved into her home in Mandeville, Louisiana,

which was a new construction, in June of 2007 for $316,000.18 The defective Chinese Drywall

had been installed during the new construction. Like most Plaintiffs, Ms. Haindel experienced

the effects caused by the “gassing from the toxic Chinese drywall,” which created a corrosive

environment that turned black copper metals, destroyed her central air conditioning unit, and

caused an awful “rotten eggs” odor to permeate the house.19 But it wasn’t just the structure of

the house that suffered, Ms. Haindel was consistently sick in the house and suffered respiratory

problems and her personal property was destroyed.20 Like many homeowners, she suffered not

knowing the cause of her problems until she saw a special on the news, around Mardi Gras in

2009, discussing the ill-effects of Chinese Drywall, many of which she was experiencing.21




17
  Due to medical conditions and disability, Dr. Daniel Gammage (also a former homeowner)
was withdrawn from the Defendants’ select claimants. See Notice of the Parties’ Agreement to
Amend the Amorin Discovery Plan to Remove Daniel Gammage as a Defendants’ Select Class
Claim (Rec. Doc. 22097). Although, Dr. Gammage’s case is no longer a Select Case, his claims
are still active and will be adjudicated by this Court.
18
  Deposition of Mary Haindel (Feb. 19, 2019) at 15:3-16, 143:19-25, 161:5-8 [Attached hereto
as Exhibit “A”].
19
     Id. at 62:13-24, 64:9-11, 71:20-25.
20
     Id. at 80:10-18, 148:7-150:11.
21
     Id. at 23:14-17, 54:9-25.

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           Having suffered and been sick, Ms. Haindel knew she had to move out of her home, and

did so within weeks.22 As her brother told her, in a sentiment echoed by many who are forced to

live in these toxic environments: “if the drywall is eating copper, what’s it doing to you and your

dogs’ lungs?”23 Unlike many, Ms. Haindel had the ability to move out quickly because she

owned, along with her two siblings, a house that was local that had been bequeathed to them by

their sister who had passed away.24 Of course, that brought its own challenges and Ms. Haindel

is now in debt to her brothers for the rent that was owed during the time she was forced to find

alternate living.25 Even though she was not paying the rent in the non-Chinese Drywall family

home out of pocket at that time, Ms. Haindel, like most homeowners, incurred substantial other

costs associated with an alternative living arrangement.26 And, she needed to move out of the

alternate home after a couple of years because it was sold, and after all, although her brothers

were trying to be helpful, they “didn’t expect this [litigation] to take 10 years.”27 Ms. Haindel

then had to relocate, again, to a condominium that she owned in Florida as an investment

property, forgoing the rental income she had been receiving.28

           In addition to all of the relocation stress, Ms. Haindel had to decide whether to attempt to

remediate or simply sell her home with Chinese Drywall. She did not want to remediate the




22
     See, e.g., id. at 82:8-20.
23
     Id. at 82:8-20.
24
     Id. at 24:7-26:9.
25
     Id.
26
     Id. at 117:22-118:23.
27
     Id. at 24:21-25:16, 26:10-12.
28
     See, e.g., id. at 144:19-145:13.

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home because “[a]t the time, when it was discovered, it was – we did not know if it was organic

or inorganic; so we didn’t know if it was going to stay in the house, was it going to have to be

torn down. It was too many unknowns. And I had just dealt with Katrina. And I just made the

decision to sell and get – and move out.”29 Selling was difficult for Ms. Haindel because the

home had Chinese Drywall and in fact, one potential sale fell through.30 Ultimately, Ms. Haindel

was forced to sell her home via a short sale on December 6, 2010, for $110,000.31 To exacerbate

that process, when she wanted to get the bank to work with her toward an eventual short sale, she

discovered they wouldn’t talk to her while she was current on her mortgage and so, for that

reason, along with the overall financial hardship caused by the relocation, she needed to stop

making her mortgage payment.32

          Ms. Haindel has provided sworn testimony that captures the incredible stress and

hardship that she has endured for the past ten years. Like many Plaintiffs, she feels like her

“whole life is on hold.”33 As she described the experience of losing one’s home as a result of

this situation, “it just turns your life upside down when you lose a house. Banks won’t talk to

you. Credit won’t talk to you.”34 And, her nightmare did not end when the house was sold – the

short sale compounded the problems. She noted that to this day: “A bank won’t talk to you.




29
     Id. at 46:14-20.
30
     Id. at 40:18-41:21, 96:19-97:15.
31
     Id. at 104:19-105:14.
32
     Id. at 85:23-86:11.
33
     Id. at 148:15.
34
     Id. at 148:12-15.

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You can’t refinance. I can’t buy a house. I haven’t bought a house since. I mean, that’s just part

of it. Credit -- my credit’s gone. I mean, there’s not a bank that’s going to talk to me.”35

          Unfortunately, Ms. Haindel is not alone. She is but one example of many who have lived

a similar nightmare. Here, Taishan has clearly used the litigation tactic of years of intentional

delay to then argue that as result of the passage of time, class members’ damages claims have

been reduced to the required proof of loss associated with forced sales, because they have lost

their homes and now are deprived of a formulaic calculation of damages meant to compensate

the common damages caused by defective drywall. This strategy should not be condoned, and in

the interests of equity and under the applicable tort damages laws, these former owners are

entitled to be made whole by applying the formula for remediation damages set by this Court.

Their property damage recovery, to which they clearly are entitled without any assignment,

should not be penalized in comparison to those who had the financial stamina or resources to

remain owners during this longstanding case.

          Indeed, six of the Defendants’ Select Claimants have suffered a similar insult. These

Plaintiffs’ lives were disrupted, upended and impaired because of the Defendants’ refusal to

account for the common injury inflicted on all class properties due to their defective drywall. No

doubt these cases will be categorized by Defendants as limited to the proof of value of

diminution/short sale loss, even though the common injury of defective drywall inflicted on these

owners is the same harm done to all class members. Defendants’ contention that Plaintiffs

should be denied full relief because some Plaintiffs no longer own their homes, however, should

be rejected on the ground that they have deliberately protracted proceedings in which



35
     Id. at 154:5-155:17.
                                                  13
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Defendants’ wrongful conduct should estop them from gaining an economic advantage in the

final accounting of damages. Since all Plaintiffs, current and former owners alike, have a

common right to be compensated for a common injury, Plaintiffs submit that the Select

Claimants and other former owner class members should be entitled to recover remediation

damages according to the same methodology, based on the formula set forth in the Findings of

Fact & Conclusions of Law related to the June 9, 2015 Damages Hearing.

III.   ARGUMENT

       A. Former Owners Have Maintained a Personal Right to Damages to
          Property Once in their Possession.

       Under Louisiana law, former owners of property, absent an express assignment, maintain

the right to sue for damage to the property formerly owned. Louisiana has adopted the

“subsequent purchaser” rule to determine who has the right to sue for property damage:

               The subsequent purchaser rule is a jurisprudential rule which holds
               that an owner of property has no right or actual interest in
               recovering from a third party for damage that was inflicted on the
               property before his purchase, in the absence of an assignment or
               subrogation of the rights belonging to the owner of the property
               when the damage was inflicted.

Eagle Pipe & Supply, Inc. v. Amerada Hess Corp., 79 So. 3d 246, 256-57 (La. 2011); see also
Guilbeau v. Hess Corp., 854 F.3d 310, 312 (5th Cir. 2017); Walton v. Exxon Mobil Corp., 162
So. 3d 490, 497 (La. Ct. App. 2015); Boone v. Conoco Phillips Co., 139 So. 3d 1047, 1053 (La.
Ct. App. 2014). As a personal right, as opposed to a real right, an owner maintains the right to
sue the tortfeasor even after the owner sells the property in question. Eagle Pipe, 79 So. 3d at
275.
       Consequently, under established Louisiana law, former owners of property with defective

Chinese Drywall – including former owners like Ms. Haindel, Colin Berthaut and Colin Gelpi,

Holly Braselman, Brian and Barbara Lewis, Dana and Marcus Staub, Rosanne Wilfer, Zhou

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Zhang and Xug Ying Zhao – still possess the right to recover all damages caused by the

defective drywall while they owned their property. Given that the right to recover for property

damage vests with the owner of the property at the time the damage occurs, therefore, the scope

of recovery also can be measured as of this point in time, making remediation costs an

appropriate method of compensation for former owners.36 The Court has leeway to do so in

fashioning appropriate class wide relief in this Rule 55(b)(2) phase of the proceedings.

         The formulaic damages methodology approved in the Damages Order provides all the

groundwork necessary for calculating such damages. The Court ruled that RS Means keyed to

the zip code of the affected property “sufficiently and reliably accounts for location factors in the

individual and aggregate damages estimate.”37 A current owner is entitled to such recovery



36
   Although the present motion addresses only the Louisiana Amorin class members, the same
reasoning is consistent with the other jurisdictions in which other class members reside. See,
e.g., California: Vaughn v. Dame Constr. Co., 272 Cal. Rptr. 261, 263 (Cal. Ct. App. 1990),
modified (Aug. 23, 1990) (property owner’s right to sue is considered personal property, not real
property); Siegel v. Anderson Homes, Inc., 13 Cal. Rptr. 3d 462, 473–74 (Cal. Ct. App. 2004)
(“[T]he cause of action belongs to the owner who first discovered, or ought to have discovered,
the property damage.”); Florida: Knight v. Empire Land Co., 45 So. 1025, 1028 (Fla. 1908); see
also 55 Fla. Jur 2d Trespass § 6 (an owner’s subsequent sale or transfer of the property subject to
trespass has no effect on the tortfeasor’s liability to the former owner); Georgia: Dougherty Cty.
v. Pylant, 122 S.E.2d 117, 118 (Ga. Ct. App. 1961) (“[I]t is immaterial that the plaintiff no
longer owns the property at the time at which suit may be instituted.”); Mississippi: Flowers v.
McCraw, 792 So. 2d 339, 342 (Miss. Ct. App. 2001) (recognizing prior trespass doctrine);
Virginia: City of Lynchburg v. Mitchell, 76 S.E. 286 (Va. 1912) (subsequent owner/assignee has
the right to pursue claim of original owner); Morriss v. White, 131 S.E. 835 (Va. 1926)
(recognizing the right to sue for trespass on property belongs to the owner at the time of trespass,
but can be assigned). In fact, Judge Cooke has adopted this Court’s ruling for all Florida
plaintiffs. See Order, Amorin, et al. v. Taishan Gypsum Co., Ltd., et al., Civil Action No. 11-
22408 (S.D. Fla. Nov. 16, 2018) (Rec. Doc. 21933-1) [ECF No. 112]_at 2 (adopting “all of
Judge Fallon’s findings of facts and legal conclusions”), at 3 (“[t]he remediation formula
represents a reasonable and reliable measure of the remediation damages which the Court will
apply to determine the appropriate amount of property damages.”).
37
     Chinese Drywall, 2017 WL 1421627, at *12, ¶ 41.

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whether or not he or she intends to use the recovery to make property repairs. So should it be

with former owners. Being made whole does not carry an obligation to spend funds recovered in

a particular way.

         B. At Equity, Former Homeowners are Entitled to Equal Relief as Current
            Homeowners.

         The ancient Roman maxim ubi jus ibi remedium remains applicable even today. “It is an

elementary maxim of equity jurisprudence that there is no wrong without a remedy.” Leo Feist,

Inc., v. Young, 138 F.2d 972, 974 (7th Cir. 1943). This principle is even embedded in

Louisiana’s Civil Code. Article 2315 expressly states: “Every act whatever of man that causes

damage to another obliges him by whose fault it happened to repair it.”38 So too here, Plaintiffs

submit that the Defendants’ improper behavior cries out for an equitable remedy. Where there is

a right, there is a remedy. The clear right of former owners to recover property damages done to

formerly-owned property, should entail a calculation of damages suitable to the circumstances of

the case. Here, such a calculation based on the Court’s approved formula is justified in law and

equity, and consistent with the aims of FRCP 23 as well as FRCP 55.

         As the circumstance of former owners, discussed above, demonstrates, Plaintiff class

members continue to suffer immeasurable insults and damages caused by the Taishan

Defendants’ defective drywall without proper recompense. Over the past ten years of litigation in

these MDL proceedings, the record proves that the Taishan Defendants have strategically

decided to ignore their obligations to this Court to the point that default judgments have been

entered against them. After targeting American consumers for purposes of selling millions of

dollars of their defective products, the Taishan Defendants refused to submit to the jurisdiction


38
     LSA-C.C. art. 2315.
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of our courts to pay for their wrongdoing. Instead, they chose to hide behind a wall preventing

Plaintiffs from enforcing U.S. judgments in China, all the while knowing that each procedural

obstacle they presented would delay these proceedings and cause ever-mounting affliction to

financially stressed homeowners, who would be forced to ultimately surrender to the crises and

pressures by selling their homes, or losing them in foreclosure or bankruptcy. Former

homeowners are equally deserving of the same remedy available to current homeowners.

       Where, as here, a ready formula exists to measure the damages to property caused by the

Defendants’ faulty drywall, equity dictates that the same measure of damages applicable to

current homeowners should be applied equally to former homeowners. See generally Brown v.

Bd. of Educ. of Topeka, Kan., 349 U.S. 294, 300 (1955) (“Traditionally, equity has been

characterized by a practical flexibility in shaping its remedies and by a facility for adjusting and

reconciling public and private needs.”). The former homeowners suffered the same common

injury to property as current homeowners or more, having lost their homes. To relegate them to

lesser relief than current owners is to reward the same condemnable delay tactics which have

caused current owners to become former owners. Affording these former owners the same

pecuniary relief available to current owners in the same class is therefore justified not only by the

legal principles and policies of FRCP 23 and 55(b), but also by the equitable principle of

fundamental fairness.

IV.    CONCLUSION

       For the reasons set forth above, fairness and justice demand that the instant motion be

GRANTED.




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Dated: March 15, 2019             Respectfully Submitted,

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                                CERTIFICATE OF SERVICE

        I hereby certify that the above and foregoing has been served on Defendants’ Liaison
Counsel, Kerry Miller, by U.S. Mail and e-mail or by hand delivery and e-mail and upon all parties
by electronically uploading the same to LexisNexis File & Serve in accordance with Pre-Trial
Order No. 6, which will serve a notice of the uploading in accordance with the procedures
established in MDL 2047, on 15th day of March, 2019.


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